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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MISSOURI
------------------------------------------------------x
MALCOLM JOHNSON,                                      :
an individual,                                        :  CIVIL ACTION
                                                      :
                  Plaintiff,                          : CASE NO.:
                                                      :
vs.                                                   : Judge:
                                                      :
                                                      : Magistrate:
                                                      :
SCHNUCK MARKETS INC.,                                 :
                                                      :
                                                      :
                  Defendant.                          :
------------------------------------------------------x

                                        COMPLAINT

“I now lift my pen to sign this Americans with Disabilities Act and say: Let the shameful wall of
                   exclusion finally come tumbling down. God bless you all.”

                                                –President George H. W. Bush, July 26, 1990




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        Plaintiff, MALCOLM JOHNSON, by and through his undersigned counsel, hereby files

this original Complaint against SCHNUCK MARKETS INC. (hereinafter referred to as

“DEFENDANT”), and demands declaratory and injunctive relief and attorneys’ fees, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., and alleges:

                                JURISDICTION AND PARTIES

1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

        Americans With Disabilities Act, 42 U.S.C. § 12181 et seq. (hereinafter referred to as the

        “ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§1331 and

        1343.

2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

3.      Plaintiff, MALCOLM JOHNSON, (hereinafter referred to as “MR. JOHNSON”), is a

        resident of St. Louis County, Missouri. MR. JOHNSON resides approximately four (4)

        miles away from the facility which is the subject of this action.

4.      MR. JOHNSON is a qualified individual with a disability under the ADA. MR.

        JOHNSON suffers from chronic obstructive pulmonary (COPD) which makes walking

        distances more than a few feet difficult or impossible for MR. JOHNSON without a

        mobility device. When MR. JOHNSON has to walk more than a few feet, he suffers

        difficulty breathing.

5.      MR. JOHNSON also suffers from arthritis in both knees and Osteoarthritis in his left

        knee, which makes walking more than a few feet extremely painful for MR. JOHNSON.

6.      Due to his disability, MR. JOHNSON is substantially impaired in several major life

        activities and requires an electric scooter, a wheelchair, or a walker for mobility.

7.      Upon information and belief, DEFENDANT is a company doing business in St. Louis

        County.


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8.       Upon information and belief, DEFENDANT can contacted at:

                           Schnuck Markets Inc.
                           Through President
                           Todd R. Schnuck
                           11420 Lackland Road
                           St. Louis, MO 63146

9.       Upon information and belief, DEFENDANT is operating the “Schnucks” grocery store

         that are the subject of this action, to wit: Schnucks, located at 9074 Overland Plaza,

         Overland, Missouri 63114. (hereinafter referred to as “the Property”).

10.      The Property is a grocery store and offers groceries and other retails goods for sale to the

         general public.

11.      DEFENDANT is obligated to comply with the ADA.

                        COUNT I - VIOLATION OF TITLE III OF THE
                             AMERICANS WITH DISABILITIES ACT

12.      MR. JOHNSON realleges and reavers Paragraphs 1 - 11 as if they were expressly

         restated herein.

13.      The Property is a place of public accommodation, subject to the ADA, generally located

         at: 9074 Overland Plaza, Overland, Missouri 63114.

14.      Upon information and belief, MR. JOHNSON has visited the Property numerous times

         and desires to visit the Property again in the near future. MR. JOHNSON lives

         approximately four (4) miles away from the Property.

15.      Upon information and belief, MR. JOHNSON has visited the Property numerous times in

         the past to purchase groceries and/or to accompany his wife, children, grandchildren,

         and/or friends purchase groceries.

16.      The discrimination alleged herein is ongoing.

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17.      At various times, MR. JOHNSON has personally observed or encountered all of the

         barriers which are the subject of this action.

18.      Due to the accessibility barriers discussed below, MR. JOHNSON knows that he will

         have difficulty using the restroom at the Property due to the barriers which are the subject

         of this action.

19.      During his visits, MR. JOHNSON has experienced serious difficulty accessing utilizing

         the restroom services offered at the Property due to the architectural barriers as discussed

         in Paragraph 24.

20.      MR. JOHNSON continues to desire to visit the Property, but fears that he will continue to

         experience serious difficulty due to the barriers discussed in Paragraph 24 which still

         exist.

21.      The barriers discussed below in Paragraph 24 are excluding MR. JOHNSON from the

         restroom accommodations offered the Property.

22.      MR. JOHNSON plans to and will visit the Property in the future as a patron and also as

         an ADA tester to determine if the barriers to access alleged herein have been modified.

23.      MR. JOHNSON presently fears that he will encounter the mobility-related barriers which

         exist at the Property when he returns to the Property in the near future.

24.      Upon information and belief, DEFENDANT is in violation of 42 U.S.C. § 12181 et seq.

         and 28 C.F.R. § 36.302 et seq. and the Property is not accessible due to, but not limited to

         the following barriers which presently exist at the Property:

                  I.       UPON INFORMATION AND BELIEF, THE FOLLOWING BARRIERS

         ARE ALLEGED TO BE THE RESPONSIBILITY OF DEFENDANT:

                           A.   At the men’s restroom, the pull side latch side maneuvering



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                                clearance parallel to the door is less than 18 inches in width.

                        B.      The men’s restroom door requires more than five (5) pounds of

                                force to open.

                        C.      At the water closet, the rear wall is missing a grab bar.

                        D.      The wheelchair stall is less than 60 inches in width.

                        E.      The flush controls at the water closet are located on the wall side

                                of the water closet instead of being automatic or located on the

                                wide side of the water closet.

                        F.      At the water closet, the side wall grab bar does not extend a

                                sufficient length along the side wall.

                        G.      The water closet centerline is not properly positioned.

                        H.      The lavatory counter height is more than 34 inches.

                        I.      Other current mobility-related barriers and violations of the

                                Americans with Disabilities Act to be identified after a complete

                                inspection of the Property.

25.      MR. JOHNSON continues to desire to visit the Property, but will continue to experience

         serious difficulty until the barriers discussed in Paragraph 24 are removed.

26.      MR. JOHNSON intends to and will visit the Property to utilize the goods and services in

         the future, but fears that DEFENDANT will continue to discriminate against him by

         failing to modify the barriers at the Property.

27.      Upon information and belief, all barriers to access and ADA violations still exist and

         have not been remedied or altered in such a way as to effectuate compliance with the

         provisions of the ADA, even though removal is readily achievable.



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28.      Upon information and belief, removal of the discriminatory barriers to access located on

         the Property is readily achievable, reasonably feasible, and easily accomplished, and

         would not place an undue burden on DEFENDANT.

29.      Upon information and belief, removal of the barriers to access located on the Property

         would provide MR. JOHNSON with an equal opportunity to participate in, or benefit

         from, the goods, services, and accommodations which are offered to the general public at

         the Property.

30.      Independent of his intent to return as a patron to the Property, MR. JOHNSON

         additionally intends to return as an ADA tester to determine whether the barriers to

         access stated herein have been remedied.

31.      MR. JOHNSON has retained the undersigned counsel and is entitled to recover

         reasonable attorneys’ fees, costs and litigation expenses from Defendant pursuant to the

         pursuant to 42 U.S.C. § 12205.



         WHEREFORE, MR. JOHNSON demands judgment against DEFENDANT, and requests

the following relief:

         A.     That this Court declare that the Property owned, leased, and/or operated by

                DEFENDANTS is in violation of the ADA;

         B.     That this Court enter an Order directing DEFENDANT to alter the Property to

                make it accessible to and useable by individuals with mobility disabilities to the

                full extent required by Title III of the ADA;

         C.     That this Court award reasonable attorneys’ fees, costs (including expert fees),

                and other expenses of suit, to MR. JOHNSON; and



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   D.    That this Court award such other and further relief as it deems necessary, just and

         proper.

                                              Respectfully Submitted,


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                                          By:/s/ Garret S. DeReus
                                               Garret S. DeReus




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